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                                         UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF OHIO
                                           WESTERN DIVISION AT DAYTON

IN RE:                                                                    CASE NO: 17-31578
    Brett A Blodgett                                                      (Chapter 13)
    Jennifer D Blodgett
                                                 Debtors                  JUDGE BETH A. BUCHANAN

                                     NOTICE OF FINAL CURE PAYMENT
     Pursuant to Federal Rule of Bankruptcy Procedure 3002.1(f), the Chapter 13 Trustee, John G. Jansing
files this Notice of Final Cure Payment. The amount required to cure the default in the claim listed
below has been paid in full. Further, all required post-petition amounts through and including
September, 2022 have been paid in full.

Name of Creditor: US BANK NATIONAL ASSOCIATION
Last 4 Digits of Account No: 0242
Property Address: 638 CONEFLOWER CT MAINEVILLE, OH 45039



Court / Trustee                                                Claim                 Claim                    Amount
Clm # Clm #                                                  Asserted              Allowed                      Paid
    12      /   1                                       $142,359.90            $11,134.20                  $11,134.20

    12      /   2                                                $0.00          $8,705.83                   $8,705.83

    12      / 49                                                 $0.00          $8,036.91                   $8,036.91

    12      / 50                                                 $0.00          $6,329.10                   $6,329.10

    12      / 51                                                 $0.00        $14,027.88                   $14,027.88

    12      / 52                                                 $0.00         Continuing                  $31,390.47

Total Amount Paid by Trustee . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $79,624.39
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    Within 21 days of the service of the Notice of Final Cure Payment, the creditor MUST file and serve
a Statement as a supplement to the holder's proof of claim on the Debtors, Debtors' Counsel and the
Chapter 13 Trustee, pursuant to Fed.R.Bank.P.3002.1(g), indicating 1) whether it agrees that the Debtors
have paid in full the amount required to cure the default on the claim; and 2) whether the Debtors are
otherwise current on all payments consistent with 11 U.S.C.§1322(b)(5).

    The statement shall itemize the required cure or post-petition amounts, if any, that the holder
contends remain unpaid as of the date of the statement. The statement shall be filed as a supplement
to the holder's proof of claim and is not subject to Rule 3001(f). Failure to notify may result in sanctions.
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                                       CERTIFICATE OF SERVICE

I hereby certify that a copy of the Notice of Final Cure Payment was served electronically on the date of
the filing through the court’s ECF System on all ECF participants registered in this case at the email
address registered with the court and by First Class Mail on August 22, 2022 addressed to:


Brett A Blodgett                   (1.3)
Jennifer D Blodgett                US BANK NATIONAL ASSOCIATION
6638 Coneflower Court              C/O RUSHMORE LOAN MANAGEMENT
Maineville, OH 45039               SERVICES LLC
                                   BOX 55004
                                   IRVINE, CA 92619-2708


                                                            /s/_JOHN G. JANSING__________
                                                            John G. Jansing 0040926
                                                            Chapter 13 Trustee
                                                            131 N. Ludlow St. Suite 900
                                                            Dayton, OH 45402-1161
                                                            (937)222-7600 Fax (937)222-7383
                                                            chapter13@dayton13.com




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